     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 1 of 10 Page ID #:1



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       BANYAN RISK GROUP, LLC
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
11     BANYAN RISK GROUP, LLC, a limited                No. 2:20-cv-6273
       liability company,
12
                                                        COMPLAINT FOR
13                  Plaintiff,
             v.                                         1. BREACH OF CONTRACT;
14                                                      2. OPEN ACCOUNT;
       SPOTLIGHT OPERATIONS LLC, a                      3. COMMON COUNT FOR
15     limited liability company, GENIUS                   SERVICES PERFORMED;
       FUND I, INC., a corporation, and GARY            4. UNJUST ENRICHMENT
16     SHINDER a/k/a IGOR SHINDER, an
       individual,
17
                    Defendants.
18
19
20           Plaintiff Banyan Risk Group, LLC (“Banyan”) complains against defendants
21     Spotlight Operations LLC, Genius Fund I, Inc., and Gary Shinder a/k/a Igor
22     Shinder and alleges as follows:
23                                 JURISDICTION AND VENUE
24           1.     This Court has original diversity jurisdiction over this action pursuant
25     to 28 U.S.C. §1332. All parties are citizens of different states and are completely
26     diverse from each other. In addition, the amount in controversy exceeds $75,000.
27           2.     Pursuant to 28 U.S.C. §1391(b)(1), venue is proper in the Central
28     District of California because defendant Spotlight Operations LLC resides in this

                                            COMPLAINT
     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 2 of 10 Page ID #:2



 1     district and all defendants are residents of the State of California. Alternatively,
 2     pursuant to 28 U.S.C. §1391(b)(2), venue is proper in this district because a
 3     substantial part of the events or omissions giving rise to the claim occurred in this
 4     district.
 5                                      INTRODUCTION
 6            3.     This lawsuit arises from a breach of contract wherein defendants
 7     failed to pay certain invoices for security services rendered by Banyan to
 8     defendants. The facts giving rise to this complaint are simple and clear—Banyan
 9     provided certain security consulting services to defendants for which Banyan
10     invoiced defendants and expected to be paid. Defendants failed to pay the
11     invoices.
12                                           PARTIES
13            4.     Plaintiff Banyan Risk Group, LLC is, and at all relevant times was, a
14     limited liability company duly organized and existing under the laws of the State of
15     Delaware, with its principal place of business in Houston, Texas. The sole
16     member of Banyan Risk Group, LLC (“Banyan”) is its founder and Chief
17     Executive Office, David Dezso. David Dezso is a citizen of, and resides in, the
18     State of Texas.
19            5.     Defendant Spotlight Operations LLC is, and at all relevant times was,
20     a California limited liability company whose registered business address is 6960 S.
21     Centinela Avenue, Culver City, CA 90230. On information and belief, Banyan
22     alleges that the sole member/owner of Spotlight Operations LLC is co-defendant
23     Genius Fund I, Inc. Genius Fund I, Inc. is a citizen of Delaware and California,
24     where, respectively, it was incorporated and where it has its principal place of
25     business. 1
26
       1
27      Banyan has conducted a search of publicly available records to determine
       whether there are other members of Spotlight Operations LLC. After a reasonable
28     search, Banyan was only able to identify Genius Fund I, Inc., as a member.
                                             COMPLAINT
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     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 3 of 10 Page ID #:3



 1           6.     Defendant Genius Fund I, Inc. is, and at all relevant times was, a
 2     corporation duly organized and existing under Delaware law whose principal place
 3     of business is 255 W. Foothill Boulevard, Suite 205, Upland, California 91786.
 4     Accordingly, Genius Fund I, Inc. is a citizen of Delaware and California.
 5           7.     Banyan is informed and believes and thereupon alleges that Defendant
 6     Gary Shinder a/k/a Igor Shinder (“Shinder”) is, and at all relevant times was, an
 7     individual residing in the State of California.
 8           8.     Although Spotlight Operations LLC was at all times herein
 9     mentioned, purportedly a limited liability company, Banyan is informed and
10     believes that at all material times hereto defendant Shinder personally supervised,
11     controlled, dominated, and operated Spotlight Operations LLC as his own business
12     and alter ego.
13           9.     Although Genius Fund I, Inc. was at all times herein mentioned,
14     purportedly a corporate entity, Banyan is informed and believes that at all material
15     times hereto defendant Shinder personally supervised, controlled, dominated, and
16     operated Genius Fund I, LLC as his own business and alter ego.
17           10.    Banyan is informed and believes that there exists, and at all times
18     since the formation of Spotlight Operations LLC and Genius Fund I, Inc. there has
19     existed, a unity and identity of interest and ownership between Spotlight
20     Operations LLC and Genius Fund I, Inc. on the one hand and Shinder on the other
21     such that there is no individuality and separateness between them and that, in fact,
22     Shinder is the alter ego of both Spotlight Operations LLC and Genius Fund I, Inc.
23     and Spotlight Operations LLC and Genius Fund I, Inc are the alter egos of Shinder.
24     Shinder placed himself as Genius Fund’s Chief Executive Officer, Chief Financial
25     Officer, Secretary, and Chairman of the Board of Directors. Furthermore, Genius
26     Fund I, Inc. is the sole owner of Spotlight Operations, LLC. From his
27     management positions, Shinder was able to control and dictate Genius Fund I,
28     Inc.’s and Spotlight Operations LLC’s management and day-to-day operations, and
                                             COMPLAINT
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     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 4 of 10 Page ID #:4



 1     on information and belief, did so.
 2           11.    Adherence to the fiction of the separate existence of Spotlight
 3     Operations LLC and Genius Fund I, Inc. as entities distinct from Shinder would
 4     permit an abuse of the corporate privilege and corporate form, and would sanction
 5     the wrongdoing of Shinder and Spotlight Operations LLC and Genius Fund I, Inc.
 6     described in more detail below. The asserted separateness between Shinder,
 7     Spotlight Operations LLC, and Genius Fund I, Inc. should be disregarded. Shinder
 8     and Genius Fund I, Inc. are responsible for Spotlight Operations LLC’s debts.
 9           12.    On information and belief, all the acts and omissions described herein
10     alleged to have been done by any defendant or defendants were performed by, and
11     attributable to, all defendants, each acting as agent, employee, alter ego, and/or
12     under the direction and control of the others, and said acts and omissions were
13     within the scope of said agency, employment, alter ego status, and/or direction and
14     control. Whenever and wherever reference is made in this complaint to any acts of
15     defendants, such allegations shall also be deemed to mean the acts of each other
16     defendant acting individually or jointly and severally.
17                                GENERAL ALLEGATIONS
18           13.    Genius Fund I, Inc. was organized to take part in California’s recently
19     legalized commercial cannabis industry. Shinder is Genius Fund I, Inc.’s Chief
20     Executive Officer, Chief Financial Officer, Secretary, and Chairman of the Board
21     of Directors. Shinder is also Spotlight Operations LLC’s Chief Executive Officer.
22     Spotlight Operations LLC is a subsidiary of Genius Fund I, Inc.
23           14.    Banyan is a risk management firm providing its clients with security
24     consulting, cybersecurity, and business due diligence services. The firm is
25     composed of people who have served at the highest levels of the United States
26     military, intelligence and diplomatic community, law enforcement, and academia.
27     Plaintiff’s founder and Chief Executive Officer, David Dezso, was a member of
28     the U.S. Special Operations Command (USSOCOM). Mr. Dezso has served
                                             COMPLAINT
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     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 5 of 10 Page ID #:5



 1     around the world fighting counterterrorism missions and received multiple service
 2     awards. Mr. Dezso also holds both a Juris Doctor from South Texas College of
 3     Law and a Master of Business Administration from Rice University.
 4           15.    To fulfill Banyan’s mission and best serve its clients security needs,
 5     Mr. Dezso has recruited a team of experts who come from various federal agencies
 6     and across the U.S. military, as well as leading research and academic institutions
 7     around the world. These experts have come from USSOCOM, the U.S. Secret
 8     Service, the National Geospatial-Intelligence Agency, the U.S. State Department’s
 9     Diplomatic Security Service, and the Federal Bureau of Investigation. The majority
10     of Banyan’s experts hold a Top Secret security clearance and have been entrusted
11     with our government’s most sensitive and special cases. Banyan appropriately
12     applies the skills and experience of its personnel to provide its clients with
13     effective and efficient services to meet its clients’ security needs.
14           16.    Since April 2019, Spotlight Operations, Genius Fund I, Inc. and
15     Shinder (“Defendants”) have been one of Banyan’s clients and have engaged
16     Banyan multiple times for various security consulting and business due diligence
17     services. For each engagement up to the two engagements that are the subject of
18     this complaint, Banyan invoiced Defendants for services rendered and Defendants
19     paid all invoices in full, except for last two.
20           17.    Genius Fund I, Inc. describes itself as a private equity fund focused on
21     complete vertical integrations in breakthrough industries. At the time of Banyan’s
22     engagements with Defendants, Genius Fund I, Inc. was involved in the recently
23     legalized commercial cannabis industry in the state of California.
24           18.    Fran Racioppi was Genius Fund I, Inc.’s former Director of Security,
25     Chief Operating Officer, and Chief Executive Officer. Racioppi engaged Banyan
26     to assist him in providing security and due diligence services to Genius Fund I, Inc.
27           19.    At the time of the Banyan’s first engagement with Genius Fund I, Inc.
28     Banyan was directed by Genius Fund I, Inc. to address and submit invoices to
                                              COMPLAINT
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     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 6 of 10 Page ID #:6



 1     Spotlight Operations LLC.
 2           20.   Beginning in April 2019, Defendants engaged Banyan to provide
 3     security consulting and business due diligence services for Defendants’ business
 4     on an ongoing basis. Defendants contracted with Banyan on eighteen (18)
 5     occasions for Banyan to provide security and consulting services for Defendants.
 6           21.   Banyan began invoicing Defendants for those security and consulting
 7     services in May 2019. Banyan continued working for Defendants through February
 8     2020 and invoicing Defendants through March 2020.
 9           22.   The first sixteen (16) invoices for Banyan’s services (totaling over
10     $335,000) were promptly paid by Defendants.
11           23.   On February 6, 2020, Banyan sent Invoice #1189 in the amount of
12     $79,018.76 to Defendants for security consulting services that Banyan provided
13     during Defendants’ business trip to Los Cabos, Mexico from January 14 to January
14     31, 2020. During the duration of this trip, Defendants held offsite company
15     meetings in Cabo San Lucas.
16           24.   On March 4, 2020, Banyan sent Invoice #1199 in the amount of
17     $18,617.53 to Defendants for security consulting services that Banyan provided
18     during Defendants’ business trip to the Dominican Republic.
19           25.   To this date, Defendants have not paid Invoices #1189 and #1199,
20     which total $97,636.29, despite repeated requests from Banyan.
21           26.   On May 8, 2020, Banyan’s counsel sent a final demand letter to
22     Defendants, demanding payment of Invoices #1189 and #1199. Banyan gave
23     Defendants until May 15, 2020 to pay, or Banyan would be forced to sue for
24     payment. Defendants failed to respond by May 15, 2020.
25           27.   On May 20, 2020, however, Defendants acknowledged that they owed
26     Banyan for Invoices #1189 and #1199 and verbally agreed to pay these invoices
27     under a payment plan.
28           28.   On May 21, 2020, Banyan accordingly sent a payment agreement to
                                           COMPLAINT
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     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 7 of 10 Page ID #:7



 1     Defendants to sign. To this date, Defendants have not signed the payment
 2     agreement, nor have they made any payments towards the amount owed to
 3     Banyan. Banyan has made multiple attempts to follow up with Defendants
 4     regarding the execution of the payment agreement, but Defendants have ceased all
 5     communications with Banyan.
 6           29.    Accordingly, Defendants are indebted to Banyan for $97,636.29 in
 7     payment for Invoices #1189 and #1199, excluding interest and attorneys’ fees.
 8                               FIRST CAUSE OF ACTION
 9                                    (Breach of Contract)
10           30.    Banyan refers to, and by that reference incorporates as if fully set
11     forth herein, each and every allegation set forth in paragraphs 1 through 29,
12     inclusive, hereinabove.
13           31.    Banyan and Defendants entered into an oral contract for Banyan to
14     provide security and consulting services to Defendants at Defendants’ request.
15     Defendants agreed to pay Banyan’s invoices as they became due and Defendants
16     honored that promise for over one year.
17           32.    Banyan has performed all of its obligations under the oral contract.
18           33.    Defendants materially breached the terms of the oral contract entered
19     into among the parties by failing to pay the latest two invoices (#1189 and #1199)
20     totaling $97,636.29, as promised.
21           34.    As a direct and proximate cause of Defendants’ breach of the oral
22     contract by failing to pay the latest two invoices (#1189 and #1199), Banyan has
23     suffered damages in an amount totaling $97,636.29 (excluding interest and
24     attorneys’ fees).
25                               SECOND CAUSE OF ACTION
26                                       (Open Account)
27           35.    Banyan refers to, and by that reference incorporates as if fully set
28     forth herein, each and every allegation set forth in paragraphs 1 through 34,
                                            COMPLAINT
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     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 8 of 10 Page ID #:8



 1     inclusive, hereinabove.
 2           36.    Defendants owe Banyan the sum of $97,636.29 that is due with
 3     interest since March 2020, in accordance with the terms of the contract more fully
 4     described above.
 5           37.    Banyan has made demand for payment upon Defendants and
 6     Defendants have acknowledged receipt of said demand.
 7           38.    Defendants have refused to pay and continue to refuse to pay the
 8     outstanding sum due and owing. As a result of Defendants refusal to pay what it
 9     owes, Banyan has suffered damages in an amount totaling $97,636.29 (excluding
10     interest and attorneys’ fees).
11                                THIRD CAUSE OF ACTION
12                         (Common Count for Services Performed)
13           39.    Banyan refers to, and by that reference incorporates as if fully set
14     forth herein, each and every allegation set forth in paragraphs 1 through 38
15     inclusive, hereinabove.
16           40.    Defendants are indebted to Banyan for the amount of $97,636.29, for
17     the services Banyan performed at Defendants’ request.
18           41.    Defendants have failed to pay anything towards the $97,636.29
19     charges for Banyan’s service; therefore, Banyan is entitled to recover $97,636.29,
20     excluding interest and attorneys’ fees, for services performed.
21                               FOURTH CAUSE OF ACTION
22                                      (Unjust Enrichment)
23           42.    Banyan refers to, and by that reference incorporates as if fully set
24     forth herein, each and every allegation set forth in paragraphs 1 through 41
25     inclusive, hereinabove.
26           43.    Defendants received a benefit totaling $97,636.29 from Banyan when
27     Banyan provided security services for Defendants as described in detail above in
28     paragraphs 23-25.
                                             COMPLAINT
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     Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 9 of 10 Page ID #:9



 1           44.    Defendants unjustly retained the benefits conferred upon them by
 2     failing to pay for the security services provided by Banyan, as Defendants had
 3     promised.
 4           45.    By failing to pay the $97,636.29 they owed Banyan, Defendants have
 5     unjustly retained the benefits of Banyan’s services as described, at Banyan’s
 6     expense.
 7           46.    Accordingly, Defendants have been unjustly enriched in a total
 8     amount of $97,636.29 (excluding interest, costs, and attorneys’ fees).
 9
10                                 PRAYER FOR RELIEF
11     WHEREFORE, Plaintiff Banyan Risk Group, LLC prays as follows:
12                  1.    The Court enter judgment in Banyan’s favor for $97,636.29, the
13                        full amount of Banyan’s claim;
14                 2.     The Court award Banyan prejudgment interest on all sums as
15                        provided by law;
16                 3.     The Court award Banyan its costs of suit;
17                 4.     The Court award Banyan its attorneys’ fees;
18                 5.     The Court award Banyan such other and further relief as the
19                        Court may deem proper.
20
       DATED: July 15, 2020
21
22                                                       LUCAS VALLEY LAW
23
24
                                             By: /s/ Mark K. de Langis
25                                                         Mark K. de Langis
                                                        Attorneys for Plaintiff
26                                                        Banyan Risk Group, LLC
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28
                                             COMPLAINT
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 Case 2:20-cv-06273-JAK-SK Document 1 Filed 07/15/20 Page 10 of 10 Page ID #:10



 1
                            DEMAND FOR JURY TRIAL
 2
 3         Banyan Risk Group, LLC hereby respectfully demands that this matter be
 4   tried before a jury.
 5
 6
 7
     Dated: July 15, 2020
 8                                                   LUCAS VALLEY LAW
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10
                                                     /s/ Mark K. de Langis
11                                                       MARK K. de LANGIS
12                                                        Attorneys for Plaintiff
                                                        Banyan Risk Group, LLC
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